Dear Secretary Carnahan:
This opinion letter responds to your request dated July 16, 2009, for our review under § 116.334, RSMo, of a proposed summary statement prepared for the petition submitted by Charles Hatfield (version 1) regarding a proposed constitutional amendment to Article X, Section 25 of the Missouri Constitution. The proposed summary statement is as follows:
  Shall the Missouri Constitution be amended to prohibit the state, counties, and other political subdivisions from imposing any tax, including a sales tax, for the sale or transfer of homes or any other real estate?
Pursuant to § 116.334, RSMo, we approve the legal content and form of the proposed statement. Because our review of the statement is mandated by statute, no action that we take with respect to such review should be construed as an endorsement of the petition, nor as the expression of any view regarding the objectives of its proponents.
                       Very truly yours,
                       _________________________ CHRIS KOSTER Attorney General *Page 1 